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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION
C.H. by and through next friend,                  )
SONYA MARIE HUNT,                                 )
                                                  )
        Plaintiff,                                )
v.                                                )        Case No. 4:21-cv-00443-SEP
                                                  )
PATTONVILLE SCHOOL DISTRICT,                      )
et al.,                                           )
                                                  )
        Defendants.                               )
                                   MEMORANDUM AND ORDER

        On January 10, 2025, this Court entered an Order giving Plaintiff 30 days to file an
amended complaint. See Doc. [76]. The Order stated that, if Plaintiff failed to file an amended
complaint with himself as the properly named Plaintiff within that time frame, “this action will
be dismissed without prejudice.” Id. at 5. Because Plaintiff still has not filed an amended
complaint despite the Court’s clear instructions, the Court will dismiss this action. See Brown v.
Frey, 806 F.2d 801, 803 (8th Cir. 1986) (explaining a district court has the power “to dismiss an
action for the plaintiff's failure to comply with any court order”).
        Accordingly,
        IT IS HEREBY ORDERED that this case is DISMISSED without prejudice.
        IT IS FURTHER ORDERED that the Motion to Appoint Counsel, Doc. [77], is
DENIED as moot. 1
        Dated this 19th day of March, 2025.


                                                          ___________________________________
                                                           SARAH E. PITLYK
                                                           UNITED STATES DISTRICT JUDGE


1
  Instead of filing an amended complaint, Plaintiff moved for appointment of counsel. See Doc. [77]. As
the Court has explained to Plaintiff, a pro se litigant in a civil case does not have a constitutional or
statutory right to appointed counsel. Id. at 2; see Ward v. Smith, 721 F.3d 940, 942 (8th Cir. 2013). Still,
because Plaintiff was a minor for most of the pendency of this lawsuit, the Court has appointed six
attorneys to represent Plaintiff’s interests in the past. See Docs. [11], [14], [24], [45], [49], [64]. None
has been able to work successfully with Plaintiff and his family to get an amended complaint on file.
Almost four years into the lawsuit, no Defendant has been served. Over those four years, Plaintiff has
been granted 13 extensions of time to file an amended complaint, yet none has been filed. See Docs. [16],
[18], [20], [26], [31], [34], [40], [52], [55], [57], [59], [62], [67]. The Court thus has ample evidence that
appointing Plaintiff another attorney would not have prevented dismissal of this lawsuit.
